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UNITED STATES DISTRICT COURT
                                             for the


                              - -l~-(_r_l_,__ District of




                                                                          Case

                                                                          No.

 Plain tiff(s).                                )
                                               )
                                               )
                                               ) violation of lst;5th;7tha4th amendments
 Nathaniel Palmer Borgen                       ) medical malpractice (negligent)
                                               ) negligence
                                               ) abuse of discretion
          ·v-                                  ) conspiracy to defraud
                                               ) wrongful death
 Defendant(s).                                 ) personal injury
                                               ) extortion
 The State of Oregon                           )
 Meadowlark senior living (compass)            )
 Dr.Vincent Gimino/Hart (Good Samaritan)       )     $1,000,000
 Linn Co., Benton Co., Lane Co.                )




                                                Complaint:

 I.
                                                A.     The Plaintiff(s)


 Name: Nathaniel Palmer Borgen
 Street Address: 2796 S main Rd Unit 20
 City and County: Lebanon Linn
 State and Zip Code: Oregon 97355
 Telephone Number: (541) 405·2772
 E-mail Address: nategamrdude@gmail.com


                                                B.     The Defendant(s)


The State of Oregon, Linn Co., Benton Co., Lane Co.,Dr. Gimino/Hart
      Meadowlark senior living (compass)
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         II.                                                  Basis for Jurisdiction


                                                              Federal question jurisdiction


         A.
                                                              1.    The Plaintiff(s)



                                                              Nathaniel Palmer Borgen


         B.
                                                              2.    The Defendant(s)



                                                              The State of Oregon; Linn Co.; Bent.on Co.; Lane Co.;(compass);Dr. Gimino/Hart


                                                              3.    The Amount in Controversy



                                                              $1,000,000



         ill.    Statement of Claim


         I, Nathaniel Palmer Borgen allege that all parties listed have violated my constitutional rights. I have previous claim that I tried t.o
         contact Dr. Gimino for help before my dad passed away. I was let down on many occasions. The retirement centers listed have done
         inconceivable damage t.o me and my family by ignoring vital issues and taking large amounts of money by extortion. I was let down
         again when my civil rights were violated by Judge Bassi in court while I was in serious hardship. The Oregon Supreme Court
         completely ignored my complaint and violated my constitutional rights. There was no correspondence or contact whatsoever.




         IV.     Relief

         I ask this court for relief that is just, suitable and compensates for the losses and damage I have sustained.




V.   Certification and Closing

I agree t.o provide the Clerk's Office with any changes t.o my address where case related papers may be served. I understand that failure t.o keep
current address on file with the Clerk's Office may result in the dismissal of my case.

         Date of signing:   9 / I 7-... / 7... '-/
         SignatureofPlaintiff      -rl'-~          'fJ, fj c~
         Printed Name of Plaintiff I,           ./-t, .,, o ,-: 1prJi0r5 L'\
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